Case 4:18-cv-00720-ALM-KPJ Document 1 Filed 10/10/18 Page 1 of 18 PageID #: 1




                        UNITED STATES DISTRICT COURT
                            Eastern District of Texas
                                        Sherman Division

       George Morris,                          §
                                               §
                           Plaintiff,          §
                                               § CA No. 4:18-cv-720
                                               §
       v.                                      §
                                               § Class Action
       Key Insurance Advisors LLC,             § Jury Demanded
                                               §
                           Defendant.          §


                                 PLAINTIFF GEORGE MORRIS’
                                  CLASS ACTION COMPLAINT

               George Morris (“Plaintiff”) brings this action to enforce the consumer-

      privacy provisions of the Telephone Consumer Protection Act (“TCPA”), a

      federal statute enacted in 1991 in response to widespread public outrage about the

      proliferation of intrusive, nuisance telemarketing practices. See Mims v. Arrow Fin.

      Servs., LLC, 132 S. Ct. 740, 745 (2012). He is also suing under Section 305-053(c)

      of the Texas Business & Commerce Code.

      1. Background

            1.1. “Voluminous consumer complaints about abuses of telephone technology

                – for example, computerized calls dispatched to private homes – prompted

                Congress to pass the TCPA.” Id. at 744. In enacting the TCPA, Congress



      _______________________________________________________________________________
                                Plaintiff’s Class Action Complaint
                                              Page | 1
Case 4:18-cv-00720-ALM-KPJ Document 1 Filed 10/10/18 Page 2 of 18 PageID #: 2




             intended to give consumers a choice as to how creditors and telemarketers

             may call them. Thus, and as applicable here, Section 227(b)(1)(A)(iii) of

             the TCPA specifically prohibits the making of “any call (other than a call

             made for emergency purposes or made with the prior express consent of

             the called party) using any automatic telephone dialing system or an

             artificial or prerecorded voice … to any telephone number assigned to a …

             cellular telephone service[.]”

         1.2. Plaintiff’s cell phone number is/was listed on the national Do Not Call

             Registry, a list explicitly designed to protect the public from these kind of

             intrusive   telemarketing       calls.   Key   Insurance   Advisors     LLC

             (“Defendant”) or its telemarketing representative or lead generator called

             Plaintiff’s cell phone on approximately 12 occasions beginning on April

             April 27, 2018 and made marketing solicitations, i.e., calls for the purpose

             of the purpose of encouraging the purchase or rental of, or investment in,

             property, goods, or services.

         1.3. The calls were made with an ATDS.

         1.4. Because Plaintiff had not given his consent to receive these calls from

             Defendant, these calls violated the TCPA and the Do Not Call Registry

             laws and regulations.




      _______________________________________________________________________________
                                Plaintiff’s Class Action Complaint
                                              Page | 2
Case 4:18-cv-00720-ALM-KPJ Document 1 Filed 10/10/18 Page 3 of 18 PageID #: 3




         1.5. This is the exact scenarios Congress attempted to prevent in enacting the

             TCPA. Plaintiff now seeks this Court's intervention and help in attempting

             to prohibit this unlawful conduct.

         1.6. Because the calls were transmitted using technology capable of generating

              hundreds of thousands of telemarketing calls per day, and because

              telemarketing campaigns generally place calls to hundreds of thousands or

              even millions of potential customers en masse, Plaintiff brings this action on

              behalf of a proposed nationwide class of other persons who received illegal

              telemarketing calls from or on behalf of Defendant.

         1.7. A class action is the best means of obtaining redress for the Defendant’s

              wide scale illegal telemarketing and is consistent both with the private right

              of action afforded by the TCPA and the fairness and efficiency goals of Rule

              23 of the Federal Rules of Civil Procedure.

      2. Parties

         2.1. Plaintiff is a resident of this District. The calls were received in this District.

         2.2. Upon information and belief Defendant is a corporation that solicits

              business in the State of Texas. Defendant can be served by serving its

              registered agent, Andre Mitchell, 1001 NW 62nd ST, STE 310, Fort

              Lauderdale, FL 33309.




      _______________________________________________________________________________
                                Plaintiff’s Class Action Complaint
                                              Page | 3
Case 4:18-cv-00720-ALM-KPJ Document 1 Filed 10/10/18 Page 4 of 18 PageID #: 4




      3. Jurisdiction and Venue

         3.1. The Court has federal question subject matter jurisdiction over these

             TCPA claims. Mims v. Arrow Financial Services, LLC, 132 S. Ct. 740 (2012).

         3.2. Supplemental jurisdiction exits pursuant to 28 U.S.C. § 1367.

         3.3. Venue is proper because the Plaintiff is a resident of this District and

             Defendant has sufficient contacts in this State and District to subject it to

             personal jurisdiction. Defendant made calls to a resident of this District.

      4. Article III Standing

         4.1. Plaintiff has Article III standing for his claim under the TCPA. Spokeo, Inc.,

             v. Thomas Robins, 136 S. Ct. 1540 (2016). See also, Jamison v. Esurance Ins.

             Servs., Inc., No. 3:15-CV-2484-B, 2016 WL 320646, at *3 (N.D. Tex. Jan.

             27, 2016).

         4.2. Plaintiff was harmed by Defendant’s actions of calling his cell phone while

             his number was on the Do Not Call Registry, without consent in the

             following manners:

             4.2.1. Plaintiff’s privacy was invaded by Defendant;

             4.2.2. Plaintiff was harassed and abused by Defendant’s telephone calls;

             4.2.3. Defendant’s calls were a nuisance to Plaintiff;




      _______________________________________________________________________________
                                Plaintiff’s Class Action Complaint
                                              Page | 4
Case 4:18-cv-00720-ALM-KPJ Document 1 Filed 10/10/18 Page 5 of 18 PageID #: 5




             4.2.4. Plaintiff’s phone was unavailable for other use while processing the

                    illegal calls from Defendant;

             4.2.5. Defendant illegally seized Plaintiff’s telephone line while it made

                    illegal calls to Plaintiff’s cellular telephone;

             4.2.6. Plaintiff’s telephone line was occupied by multiple unauthorized

                    calls from Defendant;

             4.2.7. Defendant’s seizure of Plaintiff’s telephone line was intrusive; and

             4.2.8. Plaintiff was inconvenienced by Defendant’s calls, by among other

                    things, hearing his ring and having to check the calling party.

      5. The Telephone Consumer Protection Act

         5.1. Advances in telecommunications technology have provided benefits to

             American society. But those benefits are not cost-free; new technologies

             bring with them new ways to intrude upon individual privacy and waste the

             time and money of consumers. The 1980s and 90s brought an explosion of

             abuses of telephone and facsimile technology, including the use of auto-

             dialers to clog telephone lines with unwanted calls, “robo-calls” with

             unsolicited or unwanted, prerecorded messages, and “junk faxes” that

             consume the recipients’ paper and ink and interfere with the transmission

             of legitimate messages.




      _______________________________________________________________________________
                                Plaintiff’s Class Action Complaint
                                              Page | 5
Case 4:18-cv-00720-ALM-KPJ Document 1 Filed 10/10/18 Page 6 of 18 PageID #: 6




         5.2. In 1991, Congress enacted the TCPA to regulate the explosive growth of

             the telemarketing industry. In so doing, Congress recognized that

             “[u]nrestricted telemarketing . . . can be an intrusive invasion of privacy

             [.]” Telephone Consumer Protection Act of 1991, Pub. L. No. 102-243, §

             2(5) (1991) (codified at 47 U.S.C. § 227).

         5.3. Through the TCPA, Congress outlawed telemarketing via unsolicited

             automated or pre-recorded telephone calls (“robo-calls”), finding:

             [R]esidential telephone subscribers consider automated or
             prerecorded telephone calls, regardless of the content or the initiator
             of the message, to be a nuisance and an invasion of privacy.
             ....

             Banning such automated or prerecorded telephone calls to the
             home, except when the receiving party consents to receiving the
             call[,] . . . is the only effective means of protecting telephone
             consumers from this nuisance and privacy invasion.

         Id. § 2(10) and (12); See also Mims, 132 S. Ct. at 745.

      6. The TCPA prohibits telemarketing calls to numbers listed on the Do Not
         Call Registry, unless the caller has the recipient’s express written consent

         6.1. The national Do Not Call Registry (the “Registry”) allows consumers to

             register their telephone numbers and thereby indicate their desire not to

             receive telephone solicitations at those numbers.          See 47 C.F.R. §

             64.1200(c)(2). A listing on the Registry “must be honored indefinitely, or




      _______________________________________________________________________________
                                Plaintiff’s Class Action Complaint
                                              Page | 6
Case 4:18-cv-00720-ALM-KPJ Document 1 Filed 10/10/18 Page 7 of 18 PageID #: 7




             until the registration is cancelled by the consumer or the telephone number

             is removed by the database administrator.” Id.

         6.2. The TCPA and implementing regulations prohibit the initiation of

             telephone solicitations to residential and wireless telephone subscribers to

             the Registry. 47 U.S.C. § 227(c); 47 C.F.R. § 64.1200(c)(2).

         6.3. A person whose number is on the Registry, and who has received more than

             one telephone call within any twelve-month period by or on behalf of the

             same entity in violation of the TCPA, can sue the violator and seek

             statutory damages. 47 U.S.C. § 227(c)(5).

         6.4. The regulations exempt from liability a caller who has obtained the

             subscriber’s signed, written agreement to receive telephone solicitations

             from the caller. 47 C.F.R. § 64.1200(c)(2)(ii). That agreement must also

             include the telephone number to which the calls may be placed. Id.

      7. Factual Allegations; Defendant placed telemarketing calls to the Plaintiff

         7.1. Plaintiff is the owner of and user of the cellular telephone number 682-

             XXX-5174. The cellular number is used as a residential phone number.

             Each of the telephone calls referenced below was made to Plaintiff’s

             telephone number 682-XXX-5174. None of the calls at issue were placed by

             Defendant to Plaintiff’s phone number for "emergency purposes."




      _______________________________________________________________________________
                                Plaintiff’s Class Action Complaint
                                              Page | 7
Case 4:18-cv-00720-ALM-KPJ Document 1 Filed 10/10/18 Page 8 of 18 PageID #: 8




         7.2. Beginning on April 27, 2018, Plaintiff began receiving telephone calls

             directly   from    Defendant      or   from    Defendant’s     telemarketing

             representatives who made the telephone calls as the agent for and on behalf

             of Defendant (all references herein to Defendant include Defendant’s

             telemarketing representatives).

         7.3. The telephone calls were for the purpose of encouraging the purchase or

             rental of, or investment in, property, goods, or services. Specifically,

             Defendant was selling insurance policies.

         7.4. Plaintiff is not a customer of Defendant and has not provided Defendant

             with his written consent to be called. Plaintiff had no previous relations

             with Defendant.

         7.5. All the calls were placed to a telephone number that Plaintiff had listed on

             the National Do Not Call Registry for more than 31 days prior to the calls.

         7.6. All of the calls were made by Defendant or Defendant’s authorized agents

             and partners in Defendant’s solicitation scheme. Thus, all of the calls

             were made on behalf of Defendant.

         7.7. All of the calls were willful and knowing violations of the TCPA.

         7.8. Plaintiff received calls on 4/27/18, 8/23/18, 8/23/18, 8/23/18, 8/24/18,

             8/27/18, 8/29/18, and 9/12/18. Plaintiff received approximately 12

             telemarketing calls from Defendant



      _______________________________________________________________________________
                                Plaintiff’s Class Action Complaint
                                              Page | 8
Case 4:18-cv-00720-ALM-KPJ Document 1 Filed 10/10/18 Page 9 of 18 PageID #: 9




         7.9. Defendant called Plaintiff’s cell phone. On at least two of the calls

             Plaintiff answered the calls, there was silence, an agent then came on the

             line. These facts are consistent with the use of an automatic telephone

             dialing system (“ATDS”).

         8. Class Action Allegations

         8.1. As authorized by Rule 23 of the Federal Rules of Civil Procedure, Plaintiff

             brings this action on behalf of a class of all other persons or entities similarly

             situated throughout the United States and on behalf of a class of all other

             persons or entities similarly situated throughout the State of Texas.

         8.2. The class of persons Plaintiff proposes to represent with respect to Count

             One is tentatively defined as all persons within the United States whose

             phone numbers were registered on the Do Not Call Registry for more than

             31 days prior to receiving calls from, or on behalf of, Defendant, and who,

             within the four years before the filing of the initial Complaint, received

             more than one telemarketing call on their residential or cellular line within

             any twelve-month period from, or on behalf of, Defendant.

         8.3. The class of persons Plaintiff proposes to represent with respect to Count

             Two is tentatively defined as all persons within the United States who,

             within the four years before the filing of this Amended Complaint,

             Defendant called on their cell phone with the use of an ATDS.



      _______________________________________________________________________________
                                Plaintiff’s Class Action Complaint
                                              Page | 9
Case 4:18-cv-00720-ALM-KPJ Document 1 Filed 10/10/18 Page 10 of 18 PageID #: 10




          8.4. The class of persons Plaintiff proposes to represent with respect to Count

              Three is tentatively defined as all persons within the State of Texas whose

              phone numbers were registered on the Do Not Call Registry for more than

              31 days prior to receiving calls from, or on behalf of, Defendant, and who,

              within the four years before the filing of the initial Complaint, received at

              least one telemarketing call on their residential or cellular line within any

              twelve-month period from, or on behalf of, Defendant.

          8.5. The classes as defined above are identifiable through phone records and

              phone number databases.

          8.6. Plaintiff does not know the exact number of members in the proposed

              classes, but reasonably believes based on the scale of Defendant’s business,

              and the number of calls that he received, that the classes are so numerous

              that individual joinder would be impracticable. The potential class

              members number at least in the hundreds or thousands.

          8.7. Plaintiff and all members of the proposed classes have been harmed by the

              acts of Defendant in the form of multiple involuntary telephone and

              electrical charges, the aggravation, nuisance, and invasion of privacy that

              necessarily accompanies the receipt of unsolicited and harassing telephone

              calls, and violations of their statutory rights.

          8.8. Plaintiff is a member of the classes.



       _______________________________________________________________________________
                                 Plaintiff’s Class Action Complaint
                                               Page | 10
Case 4:18-cv-00720-ALM-KPJ Document 1 Filed 10/10/18 Page 11 of 18 PageID #: 11




          8.9. There are questions of law and fact common to Plaintiff and to the proposed

              classes, including but not limited to the following:

              8.9.1. Whether Defendant violated the TCPA or the TBCC by engaging in

                       advertising by unsolicited telemarketing calls;

              8.9.2. Whether Defendant or its agents, within the four years before the

                       filing of this Complaint, made one or more one telemarketing calls

                       to a recipient’s cell phone with the use of an ATDS.

              8.9.3. Whether Defendant or its agents, within the four years before the

                       filing of the initial Complaint, made one or more one telemarketing

                       calls within any twelve-month period to individuals whose telephone

                       number had been registered on the Do Not Call Registry for more

                       than 31 days and made such calls without the consent of the recipient

                       of the call.

              8.9.4. Whether the Plaintiff and the class members are entitled to statutory

                       damages as a result of Defendant’s actions.

          8.10.            Plaintiff’s claims are typical of the claims of class members.

           8.11. Plaintiff is an adequate representative of the class because his interests do

                  not conflict with the interests of the class, he will fairly and adequately

                  protect the interests of the class, and he is represented by counsel skilled

                  and experienced in class actions, including TCPA class actions.



       _______________________________________________________________________________
                                 Plaintiff’s Class Action Complaint
                                               Page | 11
Case 4:18-cv-00720-ALM-KPJ Document 1 Filed 10/10/18 Page 12 of 18 PageID #: 12




           8.12. The actions of Defendant are generally applicable to the class as a whole

                   and to Plaintiff.

           8.13.    Common questions of law and fact predominate over questions

                    affecting only individual class members, and a class action is the

                    superior method for fair and efficient adjudication of the controversy.

                    The only individual question concerns identification of class members,

                    which will be ascertainable from records maintained by Defendant

                    and/or its agents.

          8.14.     The likelihood that individual members of the class will prosecute

                    separate actions is remote due to the time and expense necessary to

                    prosecute an individual case.

           8.15.    Plaintiff is not aware of any litigation concerning this controversy

                    already commenced by others who meet the criteria for class

                    membership described above.

    9. Count One: Violation of the TCPA’s Do Not Call provisions

          9.1. Plaintiff incorporates the allegations from all previous paragraphs as if fully

              set forth herein.

          9.2. The Defendant violated the TCPA by initiating more than one telephone

              solicitation in a twelve-month period to persons and entities whose




       _______________________________________________________________________________
                                 Plaintiff’s Class Action Complaint
                                               Page | 12
Case 4:18-cv-00720-ALM-KPJ Document 1 Filed 10/10/18 Page 13 of 18 PageID #: 13




              telephone numbers were listed on the Do Not Call Registry. See 47 U.S.C.

              § 227(c); 47 C.F.R. § 64.1200(c)(2).

          9.3. The Defendant’s violations were knowing/willful as did not subscribe to or

              utilize the Do Not Call database.

          9.4. Relief Sought: For himself and all class members, Plaintiff requests the

              following relief:

              9.4.1. That Defendant be restrained from engaging in future

                     telemarketing in violation of the TCPA.

               9.4.2. That Defendant, and its agents, or anyone acting on its behalf, be

                     immediately restrained from altering, deleting or destroying any

                     documents or records that could be used to identify class members.

              9.4.3. That the Court certify the claims of the named plaintiff and all other

                    persons similarly situated as class action claims under Rule 23 of the

                    Federal Rules of Civil Procedure and Plaintiff’s counsel be named as

                    counsel for the classes.

              9.4.4. That the Plaintiff and all class members be awarded statutory

                    damages of $500 for each violation, with triple damages for any

                    willful or knowing violation, as provided by the law.

              9.4.5. That the Plaintiff recover his attorneys’ fees and costs.




       _______________________________________________________________________________
                                 Plaintiff’s Class Action Complaint
                                               Page | 13
Case 4:18-cv-00720-ALM-KPJ Document 1 Filed 10/10/18 Page 14 of 18 PageID #: 14




              9.4.6. That the Plaintiff and all class members be granted other relief as is

                        just and equitable under the circumstances.

       10. Count Two: Violation of the TCPA’s ATDS provisions

            10.1.      Plaintiff incorporates the allegations from all previous paragraphs as

              if fully set forth herein.

          10.2.     The Defendant violated the TCPA by initiating telephone solicitations

              to cell phone numbers with the use of an ATDS.

          10.3.     The Defendant’s violations were knowing/willful as Defendant was

              spoofing the calling phone numbers and had no prior business with

              Plaintiff.

          10.4.      Relief Sought: For himself and all class members, Plaintiff requests the

              following relief:

              10.4.1. That Defendant be restrained from engaging in future

                        telemarketing in violation of the TCPA.

                  10.4.2. That Defendant, and its agents, or anyone acting on its behalf, be

                        immediately restrained from altering, deleting or destroying any

                        documents or records that could be used to identify class members.

              10.4.3. That the Court certify the claims of the named plaintiff and all

                       other persons similarly situated as class action claims under Rule 23




       _______________________________________________________________________________
                                 Plaintiff’s Class Action Complaint
                                               Page | 14
Case 4:18-cv-00720-ALM-KPJ Document 1 Filed 10/10/18 Page 15 of 18 PageID #: 15




                    of the Federal Rules of Civil Procedure and Plaintiff’s counsel be

                    named as counsel for the classes.

              10.4.4. That the Plaintiff and all class members be awarded statutory

                    damages of $500 for each violation, with triple damages for any

                    willful or knowing violation, as provided by the law.

              10.4.5. That the Plaintiff recover his attorneys’ fees and costs.

              10.4.6. That the Plaintiff and all class members be granted other relief as is

                     just and equitable under the circumstances.

       11. Count 3: Violation of Tex. Bus. & Com. Code, Chapter 305 (“TBCC”)

          11.1.   Plaintiff incorporates by reference all of the above paragraphs as

                  though fully stated herein.

          11.2.   Plaintiff is a “person” as defined by Texas Business & Commerce

                  Code § 1-201(b)(27).

          11.3.   Defendant is a “person” as defined by Texas Business & Commerce

                  Code § 1-201(b)(27).

          11.4.   Pursuant to Section 305-053(a) of the Texas Business & Commerce

                  Code, a person who receives a communication that violates 47 U.S.C.

                  § 227, or a regulation adopted under that provision, may bring an

                  action against the person who originates the communication for an

                  injunction, damages or both an injunction and damages.



       _______________________________________________________________________________
                                 Plaintiff’s Class Action Complaint
                                               Page | 15
Case 4:18-cv-00720-ALM-KPJ Document 1 Filed 10/10/18 Page 16 of 18 PageID #: 16




          11.5.   Plaintiff is entitled to a permanent injunction to prevent any further

                  violations of the Texas Business & Commerce Code, Chapter 305.

          11.6.   Pursuant to Section 305-053(b) of the Texas Business & Commerce

                  Code, Plaintiff is entitled to the greater of $500.00 for each violation or

                  Plaintiff’s actual damages for each call negligently made by Defendant.

          11.7.   Pursuant to Section 305-053(c) of the Texas Business & Commerce

                  Code, Plaintiff is entitled to not more than the greater of $1,500.00 for

                  each violation or three times Plaintiff’s actual damages for each

                  violation by Defendant that the Court finds was made knowingly or

                  intentionally.

          11.8.   Relief Sought: For himself and all class members, Plaintiff requests the

                  following relief:

              11.8.1. That Defendant be restrained from engaging in future

                       telemarketing in violation of the TBCC.

              11.8.2. That Defendant, and its agents, or anyone acting on its behalf, be

                       immediately restrained from altering, deleting or destroying any

                       documents or records that could be used to identify class

                       members.

              11.8.3. That the Court certify the claims of the named plaintiff and all

                       other persons similarly situated as class action claims under Rule



       _______________________________________________________________________________
                                 Plaintiff’s Class Action Complaint
                                               Page | 16
Case 4:18-cv-00720-ALM-KPJ Document 1 Filed 10/10/18 Page 17 of 18 PageID #: 17




                       23 of the Federal Rules of Civil Procedure and Plaintiff’s counsel

                       be named as counsel for the classes.

              11.8.4. That the Plaintiff and all class members be awarded statutory

                       damages of $500 for each violation, with triple damages for any

                       willful or knowing violation, as provided by the law.

              11.8.5. That the Plaintiff recover his attorneys’ fees and costs.

              11.8.6. That the Plaintiff and all class members be granted other relief as

                       is just and equitable under the circumstances.

       12. Count Four Injunctive relief to bar future TCPA violations

          12.1. Plaintiff incorporates the allegations from all previous paragraphs as if fully

              set forth herein.

          12.2.           The TCPA and the TBCC authorize injunctive relief to prevent

              further violations of the TCPA.

          12.3.The Plaintiff respectfully petitions this Court to order the Defendant, and

              their employees, agents and independent distributors, to immediately cease

              engaging in unsolicited telemarketing in violation of the TCPA.

       13. Jury Demand

          13.1. Plaintiff requests a jury trial as to all claims of the complaint so triable.




       _______________________________________________________________________________
                                 Plaintiff’s Class Action Complaint
                                               Page | 17
Case 4:18-cv-00720-ALM-KPJ Document 1 Filed 10/10/18 Page 18 of 18 PageID #: 18




                                      Respectfully submitted:

                                      By:     /s/ Chris R. Miltenberger
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                                              Texas State Bar Number 14171200
                                              Designated as Lead Attorney

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       _______________________________________________________________________________
                                 Plaintiff’s Class Action Complaint
                                               Page | 18
